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                     IN THE UNITED ST ATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JILL STEIN, et al.,
                       Plaintiffs,
           v.                                        Civ. No. 16-6287

KATHY BOOCKV AR,
in her official capacity as Secretary of the
Commonwealth of Pennsylvania, et al.,
                       Defendants.


                                               ORDER

       AND NOW, this 26th day of November, 2019, upon consideration of Plaintiffs' Motion to

Enforce the Settlement Agreement (Doc. No. 112), it is hereby ORDERED that Defendants

respond to Plaintiffs' Motion no later than December 12, 2019 at 5:00 p.m.


                                                         AND tT IS SO ORDERED .


                                                         .~~_Dd__
                                                         Paul S. Diamond, J .




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